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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

JUAN C. RANGEL                                  §
                                                §
               Petitioner,                       §
                                                §
       v.                                       §     No. 4:07-CV-279
                                                §    Judge Schell
ANGELA K. BARROWS, Director,                    §
  Dallas District Office, USCIS,                §
                                                §
UNITED STATES CITIZENSHIP &                     §
 IMMIGRATION SERV ICES, and                     §
                                                §
ALBERTO R. GONZALES, United States              §
  Attorney General,                             §
                                                §
               Respondents.                     §

                RESPONDENTS' MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, ANGELA K. BARROWS, in her official capacity as Dallas District

Director of the United States Citizenship & Immigration Services, the UNITED STATES

CITIZENSHIP & IMMIGRATION SERVICES, and ALBERTO R. GONZALES1, in his official

capacity as United States Attorney General, Respondents, by and through the United States

Attorney for the Eastern District of Texas, and move for summary judgment pursuant to Federal

Rules of Civil Procedure Rule 56 because there is no issue of material fact and Respondents are

entitled to judgment as a matter of law. In support of this motion, Respondents would show the

Court as follows:




       1
         Michael B. Mukasey was sworn in as Attorney General of the United States on November 14,
2007, succeeding Alberto R. Gonzales.
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                                         I. Introduction

       Petitioner Juan C. Rangel has filed a petition seeking de novo review of the final decision

of the United States Citizenship and Immigration Services ("USCIS") denying Petitioner's

application for naturalization. In answering this suit, Respondents admitted that this Court had

subject matter jurisdiction under 8 U.S.C. § 1421(c). However, Respondents denied that

Petitioner met his burden of showing he is eligible for citizenship. More specifically,

Respondents alleged that Petitioner failed to meet his burden of establishing that he was a person

of good moral character as required by 8 U.S.C. § 1427(a)(3) for eligibility for naturalization.

       Petitioner seeks reversal of the decision by Angela K. Barrows, USCIS Dallas District

Director, Dallas, Texas, of the decision denying his naturalization application. Both the line

adjudication officers and their supervisor, Angela K. Barrows, at USCIS concluded in their

review of this file that the Petitioner failed to meet the "good moral character" requirement

because of his arrest and conviction for Driving While Intoxicated. In this motion for summary

judgment, Respondents will show that Petitioner fails to meet his burden of showing good moral

character based upon his arrest and conviction for DWI during the statutory period, and for that

reason, the denial of his application for naturalization should be upheld and summary judgment

in favor of the Respondents should be granted.

                                       II. Issues Presented

     1. WHETHER THE USCIS CORRECTLY DENIED PETITIONER'S APPLICATION
FOR NATURALIZATION BASED UPON THE FINDING THAT HE LACKED GOOD
MORAL CHARACTER DUE TO HIS CONVICTION FOR DRIVING WHILE
INTOXICATED DURING THE STATUTORY PERIOD.

      2. WHETHER THE CURRENT STANDARDS IN THE COMMUNITY PREVENT A
FINDING OF GOOD MORAL CHARACTER DUE TO PETITIONER'S CONVICTION FOR
DRIVING WHILE INTOXICATED DURING THE STATUTORY PERIOD.


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                                     III. Statement of Facts

A.     Petitioner is a citizen of Mexico who has immigrated to the U.S.

       Petitioner Juan C. Rangel, Alien number 45 399 326, was born on June 1, 1980, in

Mexico. He is a native and citizen of Mexico. He was admitted to the United States as a lawful

permanent resident on May 24, 1996. He is a resident of Plano, Collin County, Texas.

B.     Petitioner was convicted for DWI and was on probation for one year.

       On October 16, 2004, in Allen, Collin County, Texas, Petitioner was arrested by the

Allen, Texas, Police for Driving While Intoxicated which is a Texas Class B misdemeanor. See

Exhibit 1 (Ex. 1) attached. On January 21, 2005, he pleaded guilty to DWI in the Collin County

Court of Law. The Petitioner was sentenced to 60 days in jail, which was suspended, of which

three days were served. He was also ordered to pay a fine of $750 and placed on community

supervision for one year. Petitioner successfully completed his probation on January 20, 2006.

C.    Petitioner filed an application for naturalization which was denied for lack of good
moral character.

       On May 10, 2006, Petitioner filed a Form N-400 (Application for Naturalization) with

USCIS. See Ex. 2. On August 23, 2006, Petitioner appeared for examination on his application.

During the examination, Petitioner passed his English reading and writing exams and his U.S.

history/civics exam. However, on August 28, 2006, based upon his October 16, 2004 arrest and

January 21, 2005 conviction for Driving While Intoxicated, USCIS denied Petitioner's

naturalization application for lack of good moral character. See Ex. 3. In that decision, District

Director (DD) Barrows stated that,

       "According to the record, your criminal history reflects a conviction which occurred
       during the period of time in which you must establish good moral character; therefore,
       your conviction precludes you from establishing good moral character at this time. This
       act, viewed in its totality, does not represent the conduct of an average citizen in the
       community."

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DD Barrows then referred specifically to Section 316(a)(3) of the INA and 8 C.F.R. 316.10(a)

and (b) in finding that Petitioner did not meet the good moral character requirements cited

therein, and therefore was ineligible for naturalization.

         On September 26, 2006, Petitioner appealed the denial by filing a Form N-336 (Request

for Hearing on a Decision Naturalization Proceedings Under Section 336 of the Act). See Ex. 4.

An interview on the appeal was held on February 8, 2007. On February 13, 2007, USCIS issued

its final decision and dismissed the appeal after determining that Petitioner had not overcome the

grounds for of the denial of his application for naturalization as set forth in that decision. See

Ex. 5.

                                        IV. Legal Analysis

A.     Venue and jurisdiction are appropriate in the United States District Court, Eastern
District of Texas.

         On August 28, 2006, USCIS issued a written denial of Petitioner’s Form N-400. 8 C.F.R.

§ 336.1(a) (2007). On September 26, 2006, Petitioner timely appealed the denial by filing Form

N-336.     8 C.F.R. § 336.2(a) (2007). On February 13, 2007, USCIS issued its final

determination denying the application. Judicial review is available after the final agency

determination.

         A person whose application for naturalization under this title is denied, after a hearing
         before an immigration officer under section 336(a), may seek review of such denial
         before the United States district court for the district in which such person resides in
         accordance with chapter 7 of Title 5, United States Code. Such review shall be de
         novo, and the court shall make its own findings of fact and conclusions of law and shall,
         at the request of the petitioner, conduct a hearing de novo on the application.

8 U.S.C. § 1421(c); INA § 310(c). Petitioner timely filed his petition for review on or about June

6, 2007, which is within 120 days of the agency’s final determination. 8 C.F.R. § 336.9(b)

(2007). Jurisdiction for Petitioner’s petition for review is appropriate in a U.S. District Court.

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Venue is appropriate in this district court because ths alien resides in Collin County, Texas.

B.      Petitioner bears the burden to establish eligibility for naturalization.

        An applicant seeking naturalization must strictly comply with the requirements for

citizenship established by Congress. Federenko v. U.S., 449 U.S. 490, 506 (1981). The

naturalization applicant bears the burden of establishing "eligibility for citizenship in every

respect." INS v. Pangilinan, 486 U.S. 875, 884 (1988). “No alien has the slightest right to

naturalization unless all statutory requirements are complied with.” U.S. v. Ginsberg, 243 U.S.

472, 475 (1917). Any doubts as to eligibility are to be resolved in favor of the government.

Berenyi v. District Director, 385 U.S. 630, 637 (1967); U.S. v. Manzi, 276 U.S. 463, 467 (1928).

“The Government has a strong and legitimate interest in ensuring that only qualified persons are

granted citizenship.” Berenyi, 385 U.S. at 637.

C.     Petitioner must establish good moral character for the five years preceding the filing
date of his application until the date he takes the oath of allegiance in order to naturalize.

        INA Section 316 establishes the “requirements for naturalization.” It requires that “no

person . . . shall be naturalized, unless such applicant . . . during all the periods referred to in this

subsection has been and still is a person of good moral character.” 8 U.S.C. § 1427(a)(3); INA §

316(a)(3). The regulations clarify that “an applicant for naturalization bears the burden of

demonstrating that, during the statutorily prescribed period, he or she has been and continues to

be a person of good moral character.” 8 C.F.R. § 316.10(a) (2007). This includes the period

between the examination and the administration of the oath of allegiance. Id. “To be eligible for

naturalization, an alien must establish that he or she for all relevant time periods under this

paragraph, has been and continues to be a person of good moral character.” 8 C.F.R. §

316.2(a)(7) (2007).


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       "The period referred to” in the statute during which an applicant must establish good

moral character is “the five years immediately preceding the date of filing his application...up to

the time of admission to citizenship.” 8 U.S.C. § 1427(a)(1) and (2). On May 10, 2006,

Petitioner filed his Application for Naturalization (Form N-400). To be naturalized, then, he

must establish that he has been of good moral character since May 10, 2001 - the five years

immediately preceding his Form N-400 filing - until the time of his administration of the oath of

allegiance. Petitioner's conviction for DWI in January 2005 is clearly within the statutory period.

D.    The INA does not define “good moral character,” but a lack of such may be based
upon the applicant’s commission of unlawful acts that adversely reflect upon his or her
moral character.

       The INA does not define “good moral character,” but the statute does list classes of

persons who are barred from being found to possess good moral character. 8 U.S.C. § 1101(f);

INA § 101(f). Moreover, application of the statutory bars alone is not conclusive on the issue of

whether an applicant possesses good moral character. “Neither the list of conduct in § 1101(f) or

that in the regulations is exhaustive.” Puciaty v. Dep’t of Justice, 125 F. Supp.2d 1035, 1039 (D.

Haw. 2000). “The fact that any person is not within any of the foregoing classes shall not

preclude a finding that for other reasons such person is or was not of good moral character.” 8

U.S.C. § 1101(f); INA § 101(f).

       Further, within the context of a naturalization application, “unless the applicant

establishes extenuating circumstances, the applicant shall be found to lack good moral character

if, during the statutory period, the applicant committed unlawful acts that adversely reflect upon

the applicant’s moral character, or was convicted or imprisoned for such acts, although the acts

do not fall within the purview of § 316.10(b)(1) or (2).” 8 C.F.R. § 316.10(b)(3)(iii) (2007). The

government admits that a DWI conviction is not a statutory bar to showing good moral character.

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However, such a conviction can be considered under 8 C.F.R. § 316.10(b)(3)(iii) as other

"unlawful acts that adversely reflect upon the applicant's moral character". On August 28, 2006,

USCIS denied Petitioner’s Form N-400 application for lack of good moral character, citing this

regulatory language. On February 13, 2007, USCIS denied the Form N-336, finding that the

applicant failed to overcome the ground for denial of the application for naturalization.

E.      If an applicant’s conduct does not create a statutory bar to a finding of good moral
character, then the applicant’s conduct is evaluated in light of the standards of the average
citizen in the community.

       If a naturalization applicant’s conduct falls within the statutory bars, then the bar

precludes the applicant from showing good moral character and USCIS must deny the

application. If the applicant’s conduct does not fall within the statutory bars, as in this

Petitioner's case, then under 8 C.F.R. § 316.10(a)(2), "the Service shall evaluate claims of good

moral character on a case-by-case basis taking into account the elements enumerated in this

section and the standards of the average citizen in the community of residence." In general, an

applicant's character must measure up to that of the average citizen in the community in which he

resides. Brukiewicz v. Savoretti, 211 F. 2d 541 (5th Cir. 1954). “The decision maker is to use

its discretion and look to the standards of an average citizen” to determine whether the applicant

possesses good moral character. Puciaty, 125 F. Supp.2d at 1039-1040. The applicant’s conduct

must be “in general accord with the basic principles of the community.” Id. at 1040.

F.    The standards in the community in which Petitioner lives prevent a finding of good
moral character.

       Drunk driving is "an urgent, nationwide problem of staggering proportion, and must be

considered as a strong negative factor in assessing plaintiff's moral character." Rico v. INS, 262

F. Supp. 2d 6, 10 (E.D. N.Y. 2003), citing Dalton v. Ashcroft, 257 F 3d. 200, at 208 (2d Cir.


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2001), and Le v. Elwood, 2003 WL 21250632, at*2 (E.D. Pa. 2003).

       More specifically, driving while intoxicated is not within the standards of acceptable

behavior in Petitioner's community. As stated above, 8 C.F.R. § 316.10(a)(2) requires: “[T]he

Service shall evaluate claims of good moral character on a case by case basis taking into account

the elements enumerated in this section and the standards of the average citizen in the community

of residence.” This Court must, therefore, look at the current standards in this Petitioner's

community of Allen and Plano, Texas, in Collin County, Texas, as well as in the state of Texas to

determine what the current standards of acceptable behavior are for the average citizen regarding

driving while intoxicated.

       Respondents submit that if USCIS were to approve naturalization for an alien with a

drunk driving conviction incurred during the statutory review period, the public in this

community would be outraged. The Texas Department of Transportation (TxDot) states at its

website www.texasdwi.org. that drunk driving is a violent crime and Texas is among the national

leaders when it comes to traffic deaths that involve alcohol. See Ex. 6-1. TxDot maintains at its

primary website (www.dot.state.tx.us) statistics which demonstrate year after year that Texas has

some of the highest incidence of drunk driving in the nation. See Ex. 6-2. TxDot also provides

reports, news releases, and information about state programs available to the public from the

Texas Department of Transportation to help inform the public of the dangers of drinking and

driving as well as to provide resources to deal with alcohol-related issues. No fewer than twelve

resources including both state agencies as well as advocacy groups such as Mothers Against

Drunk Driving (“MADD”) are listed by TxDot with web-links available to find statistics, reports,

and suggestions dealing with alcohol-related issues. See Ex. 6-3. As recently as December 11,

2007, TxDot issued a news release about a new memorial sign program created by the 80th

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Texas Legislature which it is now implementing to help inform the public of the dangers of

drinking and driving. See Ex. 6- 4 and Ex. 6-5. See Exhibit 6 Yeager Declaration, with

attachments 6-1 through 6-5.

       USCIS has been given broad discretion by Congress to determine whether an applicant

possesses the requisite good moral character for purposes of naturalization. Driving while

intoxicated is not acceptable behavior in this community. The USCIS reached the right

conclusion in this case that the Petitioner failed to meet his burden of proof. The United States

urges the Court to similarly conclude that even when viewing the evidence most favorably to the

Petitioner under Fed. R. Civ. P. Rule 56, the Petitioner has not satisfied his burden of

establishing good moral character at this time based upon the standards of the average citizen in

the Petitioner's community of residence.

       There is no genuine issue of material fact in this case. The Petitioner was arrested in

2004 and convicted in 2005 in Allen, Texas, which is in Collin County, Texas, for driving while

intoxicated in violation of Texas law. When he was arrested, he has a blood alcohol level of at

least .08 which jeopardized the safety and welfare of individuals and families traveling the roads

in his community. Clearly, the Petitioner committed a serious violation of law. Driving a

vehicle while intoxicated demonstrates a lack of good moral character since it displays an

indifference to life - both his life as well as the lives of those within his community. He

committed the criminal offense of DWI during the statutory review period preceding his

application for naturalization. That violation of the law should not be rewarded with a grant of

United States Citizenship – the highest permanent benefit granted to an alien. Because there is

no dispute of material fact, summary judgment should be granted for the Respondents.

       Such a finding by this Court upholding the denial of naturalization due to lack of good

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moral character will not preclude Petitioner from obtaining citizenship. He will be able to file an

application for naturalization on or after January 21, 2010, when his DWI conviction and

sentence is over five years old. In the meantime, Petitioner retains all of the privileges of a

lawful permanent resident.

                                          V. Conclusion

       This Court should deny Petitioner's petition for review because he failed to meet his

burden of showing good moral character.

       WHEREFORE, PREMISES CONSIDERED, Respondents submit that summary

judgment should be entered against Petitioner and in favor of the Respondents. Respondents

further pray for such other and further relief to which they may be justly entitled.

                                               Respectfully submitted,

                                               JOHN L. RATCLIFFE
                                               United States Attorney


                                               /s/ Ruth Harris Yeager___________
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                                               ATTORNEYS FOR RESPONDENTS

                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Respondents' Motion for
Summary Judgment has been electronically filed or placed in the mail, this 30th day of
December, 2007, addressed to: Mr. Roy Petty, Roy Petty P.C., P.O. Box 540665, Dallas, Texas
75354.
                                                /s/ Ruth Harris Yeager
                                               Ruth Harris Yeager

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